              Case 24-20138               Doc 83          Filed 06/12/24 Entered 06/12/24 13:38:20                                Desc Main
                                                           Document     Page 1 of 20

Fill in this information to identify the case:

             BOTW Holdings, LLC
Debtor name __________________________________________________________________
                                                                           Wyoming
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
                          24-20138
Case number (If known):   _________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    
    ✔ None


            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                    Gross revenue
            may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                            Operating a business
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date          Other _______________________      $________________


           For prior year:                 From ___________         to     ___________          Operating a business               $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________
           For the year before that:       From ___________         to     ___________          Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other _______________________


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None

                                                                                              Description of sources of revenue     Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                          Credit Card Rewards                   9,218.32
                                            01 01 2024                                        ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY


                                                01 01 2023                   12 31 2023
           For prior year:                 From ___________         to      ___________       None                                  0.00
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



                                                01 01 2022                   12 31 2022
           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY
                                                                                              None                                  0.00
                                                                                              ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
               Case 24-20138                Doc 83       Filed 06/12/24 Entered 06/12/24 13:38:20                                  Desc Main
                                                          Document     Page 2 of 20
Debtor              BOTW Holdings, LLC
                   _______________________________________________________                                            24-20138
                                                                                               Case number (if known)_____________________________________
                   Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $,. (This amount may be
    adjusted on // and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
            Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
             See Attached Rider
            __________________________________________         ________       $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments
            __________________________________________
            Street                                             ________                                          Suppliers or vendors
            __________________________________________                                                           Services
            __________________________________________
            City                          State    ZIP Code
                                                               ________                                          Other _______________________________
             
     3.2.

            __________________________________________         ________       $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments
            __________________________________________
            Street                                             ________                                          Suppliers or vendors
            __________________________________________                                                           Services
            __________________________________________
            City                          State    ZIP Code
                                                               ________                                          Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $,. (This amount may be adjusted on // and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

      None
            Insider’s name and address                          Dates         Total amount or value         Reasons for payment or transfer
     4.1.
             See Attached Rider
            __________________________________________        _________      $__________________          ___________________________________________
            Insider’s name
            __________________________________________        _________                                   ___________________________________________
            Street
            __________________________________________        _________                                   ___________________________________________
            __________________________________________
            City                          State    ZIP Code


            Relationship to debtor
            __________________________________________


     4.2.

            __________________________________________        _________      $__________________          ___________________________________________
            Insider’s name
            __________________________________________        _________                                   ___________________________________________
            Street
            __________________________________________        _________                                   ___________________________________________
            __________________________________________
            City                          State    ZIP Code



            Relationship to debtor

            __________________________________________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
                   Case 24-20138                Doc 83           Filed 06/12/24 Entered 06/12/24 13:38:20                                  Desc Main
                                                                  Document     Page 3 of 20
Debtor               BOTW Holdings, LLC
                    _______________________________________________________                                                        24-20138
                                                                                                            Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     ✔ None

            Creditor’s name and address                              Description of the property                                    Date               Value of property
     5.1.

            __________________________________________               ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________               ___________________________________________
            Street
            __________________________________________               ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________               ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________               ___________________________________________
            Street
            __________________________________________               ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     ✔ None

             Creditor’s name and address                               Description of the action creditor took                      Date action was       Amount
                                                                                                                                    taken

             __________________________________________              ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________              ___________________________________________
             Street
             __________________________________________
             __________________________________________              Last 4 digits of account number: XXXX– __ __ __ __
             City                             State    ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
             Case title                                   Nature of case                            Court or agency’s name and address                  Status of case

     7.1.
              JOHN A. McCALL JR. v. BEST OF THE
             _________________________________
                                                           Breach of Contract and Related Claims
                                                          ______________________________            District Court of the Fifth Judicial District
                                                                                                   __________________________________________           
                                                                                                                                                        ✔ Pending

              WEST PRODUCTIONS, LLC, et al.                                                        Name
                                                                                                                                                        
                                                                                                                                                        ✔ On appeal
                                                                                                    State of Wyoming, County of Park
                                                                                                   __________________________________________
             Case number                                                                           Street                                                Concluded
                                                                                                   __________________________________________
              29026
             _________________________________                                                     __________________________________________
                                                                                                   City                   State             ZIP Code
              

             Case title                                                                              Court or agency’s name and address
                                                                                                                                                         Pending
     7.2.
             _________________________________            ______________________________           __________________________________________            On appeal
                                                                                                   Name
                                                                                                   __________________________________________
                                                                                                                                                         Concluded
             Case number
                                                                                                   Street
                                                                                                   __________________________________________
             _________________________________
                                                                                                   __________________________________________
                                                                                                   City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
                   Case 24-20138             Doc 83              Filed 06/12/24 Entered 06/12/24 13:38:20                               Desc Main
                                                                  Document     Page 4 of 20
Debtor                BOTW Holdings, LLC
                     _______________________________________________________                                                   24-20138
                                                                                                        Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     ✔ None

              Custodian’s name and address                           Description of the property                        Value

             __________________________________________              ______________________________________             $_____________
             Custodian’s name
                                                                     Case title                                         Court name and address
             __________________________________________
             Street
                                                                     ______________________________________           __________________________________________
             __________________________________________                                                               Name
             __________________________________________              Case number                                      __________________________________________
             City                          State       ZIP Code                                                       Street
                                                                     ______________________________________           __________________________________________
                                                                     Date of order or assignment                      __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     ✔ None

             Recipient’s name and address                            Description of the gifts or contributions                   Dates given           Value


            __________________________________________               ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________               ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________               ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________               ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
             Description of the property lost and how the loss       Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                                If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).

              2020 Dodge Ram. Truck was damaged by
             ___________________________________________              $33,432.00
                                                                     ___________________________________________                  9/29/2023
                                                                                                                                 _________________    33,432.00
                                                                                                                                                     $__________
              Harris Trucking & Construction Co.
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
              Case 24-20138              Doc 83         Filed 06/12/24 Entered 06/12/24 13:38:20                                 Desc Main
                                                         Document     Page 5 of 20
Debtor             BOTW Holdings, LLC
                  _______________________________________________________                                                24-20138
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Markus Williams Young & Hunsicker LLC
           __________________________________________
   11.1.                                                      ___________________________________________                 1/2/24, 4/18/24
                                                                                                                         ______________        86,738.00
                                                                                                                                             $_________
           Address
                                                              ___________________________________________
            2120 Carey Ave
           __________________________________________
           Street
            Suite 101
           __________________________________________
            Cheyenne                 MT       82001
           __________________________________________
           City                        State      ZIP Code


           Email or website address
            http://markuswilliams.com/
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________         ___________________________________________
                                                                                                                         ______________      $_________
           Address                                            ___________________________________________
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code

           Email or website address
           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None


           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________         ___________________________________________                 ______________      $_________

           Trustee                                            ___________________________________________
           __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
              Case 24-20138              Doc 83         Filed 06/12/24 Entered 06/12/24 13:38:20                                  Desc Main
                                                         Document     Page 6 of 20
Debtor             BOTW Holdings, LLC
                  _______________________________________________________                                                24-20138
                                                                                                  Case number (if known)_____________________________________
                  Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None



           Who received transfer?                                Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.   __________________________________________            ___________________________________________                ________________    $_________

                                                                 ___________________________________________
           Address
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Relationship to debtor

           __________________________________________




           Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.   __________________________________________            ___________________________________________

           Address
           __________________________________________
           Street
           __________________________________________
           __________________________________________
           City                        State      ZIP Code


           Relationship to debtor

           __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     
     ✔ Does not apply

           Address                                                                                               Dates of occupancy


   14.1.   _______________________________________________________________________                               From       ____________       To   ____________
           Street
           _______________________________________________________________________
           _______________________________________________________________________
           City                                              State         ZIP Code


   14.2.   _______________________________________________________________________                               From       ____________       To   ____________
           Street
           _______________________________________________________________________
           _______________________________________________________________________
           City                                              State         ZIP Code


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
              Case 24-20138                 Doc 83        Filed 06/12/24 Entered 06/12/24 13:38:20                                        Desc Main
                                                           Document     Page 7 of 20
Debtor             BOTW Holdings, LLC
                  _______________________________________________________                                                  24-20138
                                                                                                    Case number (if known)_____________________________________
                  Name




 Part 8:          Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.

      Yes. Fill in the information below.
           Facility name and address                          Nature of the business operation, including type of services the               If debtor provides meals
                                                              debtor provides                                                                and housing, number of
                                                                                                                                             patients in debtor’s care

   15.1.   ________________________________________           ___________________________________________________________                   ____________________
           Facility name
                                                              ____________________________________________________________
           ________________________________________
           Street                                             Location where patient records are maintained (if different from facility      How are records kept?
                                                              address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                            Check all that apply:
                                                              ____________________________________________________________
           ________________________________________
           City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                             Electronically
                                                                                                                                            Paper

           Facility name and address                          Nature of the business operation, including type of services the               If debtor provides meals
                                                              debtor provides                                                                and housing, number of
                                                                                                                                             patients in debtor’s care

   15.2.   ________________________________________           ___________________________________________________________                   ____________________
           Facility name
                                                              ___________________________________________________________
           ________________________________________
           Street                                             Location where patient records are maintained (if different from facility      How are records kept?
                                                              address). If electronic, identify any service provider.
           ________________________________________
                                                                                                                                            Check all that apply:
                                                              ____________________________________________________________
           ________________________________________
           City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                             Electronically
                                                                                                                                            Paper

 Part 9:          Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔
       No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
                  Does the debtor have a privacy policy about that information?
            
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.

      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                         Name of plan                                                                           Employer identification number of the plan

                         _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                     Has the plan been terminated?
                      No
                      Yes

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
                Case 24-20138              Doc 83         Filed 06/12/24 Entered 06/12/24 13:38:20                                  Desc Main
                                                           Document     Page 8 of 20
Debtor               BOTW Holdings, LLC
                    _______________________________________________________                                              24-20138
                                                                                                  Case number (if known)_____________________________________
                    Name




 Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

      None
         ✔



             Financial institution name and address        Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
             Name
                                                                                            Savings
             ______________________________________
             Street                                                                         Money market
             ______________________________________
                                                                                            Brokerage
             ______________________________________
             City                  State       ZIP Code                                     Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
                                                                                            Savings
             Name
             ______________________________________
             Street                                                                         Money market
             ______________________________________
                                                                                            Brokerage
             ______________________________________
             City                  State       ZIP Code                                     Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

      None
         ✔




              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________              No
             Name
                                                          __________________________________          __________________________________
                                                                                                                                                      Yes
             ______________________________________
             Street                                       __________________________________          __________________________________             
             ______________________________________
             ______________________________________        Address                                                                                   
             City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None


              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
             Name
                                                          __________________________________          __________________________________
                                                                                                                                                       Yes
             ______________________________________
                                                          __________________________________          __________________________________              
             Street                                       __________________________________          __________________________________
             ______________________________________
             ______________________________________         Address                                                                                   
             City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8
             Case 24-20138               Doc 83             Filed 06/12/24 Entered 06/12/24 13:38:20                                    Desc Main
                                                             Document     Page 9 of 20
Debtor            BOTW Holdings, LLC
                 _______________________________________________________                                                     24-20138
                                                                                                      Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                              Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
                                                                __________________________________        __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________       Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                   On appeal
          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                   Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                           Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 9
              Case 24-20138              Doc 83         Filed 06/12/24 Entered 06/12/24 13:38:20                                  Desc Main
                                                        Document      Page 10 of 20
Debtor             BOTW Holdings, LLC
                  _______________________________________________________                                                24-20138
                                                                                                  Case number (if known)_____________________________________
                  Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address               Environmental law, if known                Date of notice


           __________________________________        ______________________________________           __________________________________           __________
           Name                                      Name
                                                                                                      __________________________________
           __________________________________        ______________________________________
           Street                                    Street                                           __________________________________
           __________________________________        ______________________________________
           __________________________________        ______________________________________
           City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:           Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

      None

           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    See Attached Rider
           __________________________________         _____________________________________________
           Name                                                                                                Dates business existed
                                                      _____________________________________________
           __________________________________
           Street                                     _____________________________________________
           __________________________________                                                                  From _______         To _______
           __________________________________
           City                  State    ZIP Code




           Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                       Do not include Social Security number or ITIN.

           __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                                                                               Dates business existed
                                                      _____________________________________________
           __________________________________
           Street                                     _____________________________________________
           __________________________________                                                                  From _______         To _______
           __________________________________
           City                  State    ZIP Code



           Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

   25.3.   __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
           Name
                                                      _____________________________________________            Dates business existed
           __________________________________
           Street                                     _____________________________________________
           __________________________________
           __________________________________
                                                                                                               From _______         To _______
           City                  State    ZIP Code




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 10
                  Case 24-20138           Doc 83        Filed 06/12/24 Entered 06/12/24 13:38:20                                 Desc Main
                                                        Document      Page 11 of 20
Debtor             BOTW Holdings, LLC
                  _______________________________________________________                                               24-20138
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                                Dates of service


              See Attached Rider                                                                              From _______       To _______
   26a.1.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                              State                 ZIP Code


              Name and address                                                                                Dates of service

                                                                                                              From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                              State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                     Name and address                                                                         Dates of service

                                                                                                              From _______       To _______
         26b.1.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code


                     Name and address                                                                         Dates of service

                                                                                                              From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                                                                                                              If any books of account and records are
                     Name and address
                                                                                                              unavailable, explain why


         26c.1.       Stryk Group USA, LLC
                     ______________________________________________________________________________           _________________________________________
                     Name
                      215 Quail Run Rd Ste D                                                                  _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                   _________________________________________
                     ______________________________________________________________________________
                      Bozeman                                      MT                  59718-5979
                     ______________________________________________________________________________
                     City                                           State                 ZIP Code



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
                    Case 24-20138           Doc 83         Filed 06/12/24 Entered 06/12/24 13:38:20                               Desc Main
                                                           Document      Page 12 of 20
Debtor                BOTW Holdings, LLC
                     _______________________________________________________                                               24-20138
                                                                                                    Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

               None
                       Name and address


           26d.1.       First Bank of Wyoming
                       ______________________________________________________________________________
                       Name
                        245 E 1st Street
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                        Powell                                       WY                  82435
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
  
  ✔ No

  Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
              Case 24-20138                Doc 83        Filed 06/12/24 Entered 06/12/24 13:38:20                                               Desc Main
                                                         Document      Page 13 of 20
Debtor             BOTW Holdings, LLC
                  _______________________________________________________                                             24-20138
                                                                                               Case number (if known)_____________________________________
                  Name




           Name of the person who supervised the taking of the inventory                      Date of             The dollar amount and basis (cost, market, or
                                                                                              inventory           other basis) of each inventory

           ______________________________________________________________________             _______            $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name
           ______________________________________________________________________
           Street
           ______________________________________________________________________
           ______________________________________________________________________
           City                                                    State          ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                                Address                                               Position and nature of any                         % of interest, if any
                                                                                                     interest
           Stryk Group Holdings, LLC            215 Quail Run road, Ste D, Bozeman, MT 59718          Member                                              67%
           ____________________________        _____________________________________________         ____________________________                        _______________
           Jeff Edwards                         91 Big Chief Trail, Bozeman, MT 59718                   Manager                                           73% of ownership above
           ____________________________        _____________________________________________         ____________________________                        _______________
           Chase Myers                          241 Falconers Way, Bozeman, MT 59718                    Manager                                           27% of ownership above
           ____________________________        _____________________________________________         ____________________________                        _______________

           ____________________________        _____________________________________________         ____________________________                        _______________

           ____________________________        _____________________________________________         ____________________________                        _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
   No
 
  ✔ Yes. Identify below.


           Name                                Address                                                Position and nature of                      Period during which
                                                                                                      any interest                                position or interest was
                                                                                                                                                  held
           Christine Michaletz                  1301 Stampede Ave. 2312, Cody, WY 82414                 Chief Operating Officer, 50% interest           Unknown        3/8/24
           ____________________________        _____________________________________________          ______________________                      From _____ To _____
           Joseph Michaletz                     1301 Stampede Ave. 2312, Cody, WY 82414                 Chief Exec Officer, 50% interest                Unknown        3/8/24
           ____________________________        _____________________________________________          ______________________                      From _____ To _____

           ____________________________        _____________________________________________          ______________________                      From _____ To _____

           ____________________________        _____________________________________________          ______________________                      From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
   No
 
  ✔ Yes. Identify below.


           Name and address of recipient                                             Amount of money or                           Dates                  Reason for
                                                                                     description and value of                                            providing the value
                                                                                     property


   30.1.
           See Attached Rider
           ______________________________________________________________             _________________________                   _____________          ____________
           Name
           ______________________________________________________________
           Street                                                                                                                _____________
           ______________________________________________________________
           ______________________________________________________________                                                        _____________
           City                                     State          ZIP Code

           Relationship to debtor                                                                                                _____________

           ______________________________________________________________                                                        _____________

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                              page 13
                Case 24-20138                  Doc 83           Filed 06/12/24 Entered 06/12/24 13:38:20                          Desc Main
                                                                Document      Page 14 of 20
Debtor               BOTW Holdings, LLC
                    _______________________________________________________                                               24-20138
                                                                                                   Case number (if known)_____________________________________
                    Name




             Name and address of recipient
                                                                                           __________________________     _____________       ______________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________
             ______________________________________________________________
             Street                                                                                                       _____________
             ______________________________________________________________
             ______________________________________________________________                                               _____________
             City                                           State      ZIP Code


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      No
     
     ✔ Yes. Identify below.


             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation
              BOTW Holdings, LLC
             ______________________________________________________________                                   8 ___
                                                                                                        EIN: ___ 5 – ___
                                                                                                                      2 ___
                                                                                                                         0 ___
                                                                                                                            4 ___
                                                                                                                               6 ___
                                                                                                                                  5 ___
                                                                                                                                     9 ___
                                                                                                                                        3



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:             Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      06/12/2024
                             _________________
                              MM / DD / YYYY



            /s/ Chase Myers
            ___________________________________________________________                               Chase Myers
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Manager
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
           Case 24-20138             Doc 83     Filed 06/12/24 Entered 06/12/24 13:38:20          Desc Main
                                                Document      Page 15 of 20


BOTW Holdings, LLC                                                                   Case Number: 24-20138

           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
 Part 2:
           List Certain Transfers Made Before Filing Bankruptcy
3. Certain payments or transfers to creditors within 90 days before filing this case

           Creditors Name and                                      Total amount or       Reasons for payment or
           address                                        Dates
                                                                        value                  transfer

3.1        Entre Technology Services          1/26/24             $10,894.24         Office 365 licenses
           1501 14th St W #201                2/7/24
           Billings MT 59102                  3/11/24
                                              4/5/24
3.2        Hall & Evans LLC                   1/29/24             $54,004.28         legal fees
           1001 17th Street, Suite 300        2/7/24
           Denver CO 80202Ͳ2084               3/21/24
                                              4/12/24
3.3        Open Source Integrators (OSI)      1/29/24             $30,240.00         Odoo management
           PO Box 940                         2/7/24
           Higley AZ 85236                    2/29/24
                                              3/21/24
3.4        SBW & Associates PC                1/29/24             $7,665.00          Payroll processing
           931 Rumsey Ave                     3/8/24
           PO Box 637                         4/5/24
           Cody WY 82414
3.5        Spotted Bear Marketing Co.         2/7/24              $16,666.00         Marketing
           1204 Glider Ln Unit A              4/5/24
           Belgrade MT 59714Ͳ9443

3.6        Stryk Group USA, LLC               2/7/24              $135,000.00        Consulting
           215 Quail Run Rd Ste D             2/29/24
           Bozeman MT 59718Ͳ5979              3/28/24
3.7        Yellowstone Ave, LLC               1/29/24             $21,000.00         Rent
           150 Saint Andrews Ct.,Ste 210      2/29/24
           Mankato MN 56001                   3/28/24

3.8        Visa (First Bank of WY)            1/24/24             $124,914.25        credit card statement
           PO Box 17350                       2/22/24
           Denver CO 80217                    3/26/24
3.9        First Bank of Wyoming              1/13/24             $56,161.78         bank fees & interest on LOC
           245 E 1st Street                   2/1/24
           Powell WY 82435                    2/14/24
                                              2/14/24
                                              2/29/24
                                              3/14/24
                                              3/28/24
                                              3/29/24
                                              4/15/24
3.10       Montana Bucks & Ducks              3/28/2024           $10,000.00         2 huntsͲ marketing
           4771 Blacktail Rd
           Dillon MN 59725




                                                                                                             Page 1 of 1
            Case 24-20138           Doc 83   Filed 06/12/24 Entered 06/12/24 13:38:20        Desc Main
                                             Document      Page 16 of 20


BOTW Holdings, LLC                                                              Case Number: 24-20138

          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 2:
          List Certain Transfers Made Before Filing Bankruptcy
4. Payments or other transfers of property made within 1 year before filing this case that benefited
   any insider
                                                              Total amount or     Reasons for payment or
          Insiders Name and address              Dates
                                                                   value                transfer

4.1       Christine Michaletz                   12/29/23        $210,597.06      Reimbursement for
          1301 Stampede Ave                      1/19/24                         expenses paid personally
          #2312                                                                  related to 2023-2024
          Cody WY 82414                                                          business operations

          Relationship to debtor:
          50% owner through 3/8/24
4.2       Stryk Group USA LLC                  3/28/2024         $45,000.00      consulting fees
          215 Quail Run Road
          Suite D
          Bozeman MT 59718

          Relationship to debtor:
          67% owner as of 3/8/24
4.3       Long Range Store, LLC                12/13/2023         $500.00        investment in entity
          115 W Yellowstone Ave
          Cody WY 82414

          Relationship to debtor:
          wholly owned by BOTW Holdings

4.4       Best of the West Ammo, LLC             5/5/23          $50,000.00      investment in entity
          115 W Yellowstone Ave                 5/25/23
          Cody WY 82414                         6/20/23
                                                6/28/23
          Relationship to debtor:                4/5/24
          wholly owned by BOTW Holdings
4.5       Best of the West Arms, LLC             4/26/23        $1,485,000.00    investment in entity
          115 W Yellowstone Ave                  7/7/23
          Cody WY 82414                          7/11/23
                                                 7/14/23
          Relationship to debtor:               10/13/23
          wholly owned by BOTW Holdings         12/29/23
                                                 1/31/24
                                                 3/8/24
4.6       Huskemaw Optics, LLC                  5/5/2023         $10,000.00      investment in entity
          115 W Yellowstone Ave
          Cody WY 82414

          Relationship to debtor:
          wholly owned by BOTW Holdings
            Case 24-20138          Doc 83     Filed 06/12/24 Entered 06/12/24 13:38:20     Desc Main
                                              Document      Page 17 of 20


BOTW Holdings, LLC                                                               Case Number: 24-20138

          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 2:
          List Certain Transfers Made Before Filing Bankruptcy
4. Payments or other transfers of property made within 1 year before filing this case that benefited
   any insider
                                                               Total amount or    Reasons for payment or
          Insiders Name and address               Dates
                                                                    value                 transfer
4.7       Best of the West Productions, LLC       5/5/23          $40,500.00      investment in entity
          115 W Yellowstone Ave                   7/25/23
          Cody WY 82414                          10/13/23
                                                  4/18/24
          Relationship to debtor:
          wholly owned by BOTW Holdings
              Case 24-20138               Doc 83   Filed 06/12/24 Entered 06/12/24 13:38:20                     Desc Main
                                                   Document      Page 18 of 20

BOTW Holdings, LLC                                                                                  Case Number: 24-20138


         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
         Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest within 6 years before filing.

                                                                                              Employer
                                                                                              Identification     Dates business existed
           Business name and address               Describe the nature of the business        Number             From - To

25.1       Best of the West Arms, LLC              Arms manufacturer                          85Ͳ3276293         unknownͲcurrent
           115 W. Yellowstone Ave
           PO Box 1150
           Cody, WY 82414
25.2       Best of the West Ammo, LLC              Ammo manufacturer                          85Ͳ3216037         unknownͲcurrent
           115 W. Yellowstone Ave
           PO Box 1150
           Cody, WY 82414
25.3       Best of the West Productions, LCC       Video production company                   20Ͳ8078845         unknownͲcurrent
           115 W. Yellowstone Ave
           PO Box 1150
           Cody, WY 82414
25.4       Huskemaw Optics, LLC                    Optics importer/seller                     65Ͳ1300239         unknownͲcurrent
           115 W. Yellowstone Ave
           PO Box 1150
           Cody, WY 82414
25.5       Long Range Store, LLC                   eCommerce Platform                         unknown            4/20/22Ͳcurrent
           115 W. Yellowstone Ave
           PO Box 1150
           Cody, WY 82414




                                                                                                                                   Page 1 of 1
              Case 24-20138         Doc 83          Filed 06/12/24 Entered 06/12/24 13:38:20                    Desc Main
                                                    Document      Page 19 of 20

BOTW Holdings, LLC                                                                                           Case Number: 24-20138


       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
       Details About the Debtor's Business or Connections to Any Business
26. Books, records, and financial statements
   26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing the case


           Name                   Address             Address 2       City            State    Zip            Dates Services Rendered
ϮϲĂ͘ϭ      EŝŬŬŝůĂŬĞ           ϭϮϰϮ,ĂǇĞƐǀĞ       WKŽǆϴϮϰϯϯ    DĞĞƚĞĞƚƐĞ       tz             ϴϮϰϯϯ               ϰͬϮϬͬϮϮͲϭϮͬϮϬͬϮϮ

ϮϲĂ͘Ϯ      ƌŝŶDĐĂůů           ϭϴϰϲ,ĂǇĞƐǀĞ       WKŽǆϮϳϳ      DĞĞƚĞĞƚƐĞ       tz             ϴϮϰϯϯ                ϴͬϮϵͬϮϮͲϰͬϭϬͬϮϯ

ϮϲĂ͘ϯ      >ĂŝŶĂZĂũĂůĂ          ϮϯϱϭǆĐĞůƌŝǀĞ                     DĂŶŬĂƚŽ         DE             ϱϲϬϬϭ                 ϲͬϮϬͬϮϮͲĐƵƌƌĞŶƚ

ϮϲĂ͘ϰ      <ĞůůǇ^ƵůůŝǀĂŶ        ϯϬϰϭϯƚŚ^ƚƌĞĞƚ                      ĞůŐƌĂĚĞ        Dd             ϱϵϳϭϰ                 ϮͬϮϬͬϮϰͲĐƵƌƌĞŶƚ

Ϯϲ͘Ă͘ϱ     ƌŝƚƚŶĞĞƌŽǁŶ        ϱϲWĂƐĞŽĞůZĞǇ                     ^ĂŶůĞŵĞŶƚĞ                 ϵϮϲϳϯ                 ϭͬϭϳͬϮϰͲĐƵƌƌĞŶƚ

ϮϲĂ͘ϱ      ^tΘƐƐŽĐŝĂƚĞƐW   ϵϯϭZƵŵƐĞǇǀĞ       WKŽǆϲϯϳ      ŽĚǇ            tz             ϴϮϰϭϰ                 ϰͬϮϬͬϮϮͲĐƵƌƌĞŶƚ

ϮϲĂ͘ϲ      ĐŬďĞƌŐWŽǁĞƌ>>     ϭϬϬDĂĚŝƐŽŶǀĞ                      DĂŶŬĂƚŽ         DE             ϱϲϬϬϭ                ϭϭͬϮϴͬϮϮͲĐƵƌƌĞŶƚ




                                                                                                                                   Page 1 of 1
                     Case 24-20138                      Doc 83        Filed 06/12/24 Entered 06/12/24 13:38:20                                       Desc Main
                                                                      Document      Page 20 of 20
BOTW Holdings, LLC                                                                                                                                 Case Number: 24-20138


            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 13:
            Details About the Debtor's Business or Connections to Any Business
30. Payments, distributions, or withdrawals in any form credited or given to insiders within 1 year before filing


                                                                                                                    Amount of money
                                                                                                 Relationship to
            Name                             Address                  City      State    Zip                        or description and Dates       Reason for providing the value
                                                                                                 debtor
                                                                                                                    value of property

  30.1      Stryk Group USA, LLC             215 Quail Run Rd         Bozeman   MT       59718   Affiliate          $45,000.00        3/28/2024    Bundled Consulting
  30.2      Christine Michaletz              1301 Stampede Ave        Cody      WY       82414   Former COO         $210,597          12/19/2023   Reimbursement for expenses paid
                                             #2312                                                                                    01/19/2024   personally


  30.3      Long Range Store, LLC            115 W Yellowstone Ave    Cody      WY       82414   Affiliate          $500              12/13/2023   investment in entity
  30.4      Best of the West Ammo, LLC       115 W Yellowstone Ave    Cody      WY       82414   Affiliate          $50,000           5/5/23       investment in entity
                                                                                                                                      5/25/23
                                                                                                                                      6/20/23
                                                                                                                                      6/28/23
                                                                                                                                      4/5/24
  30.5      Best of the West Arms, LLC       115 W Yellowstone Ave    Cody      WY       82414   Affiliate          $1,485,000.00     4/26/23      investment in entity
                                                                                                                                      7/7/23
                                                                                                                                      7/11/23
                                                                                                                                      7/14/23
                                                                                                                                      10/13/23
                                                                                                                                      12/29/23
                                                                                                                                      1/31/24
  30.6      Huskemaw Optics, LLC              115 W Yellowstone Ave   Cody      WY       82414   Affiliate          $10,000.00        3/8/2
                                                                                                                                      5/5/2023     investment in entity
  30.7      Best of the West Productions, LLC 115 W Yellowstone Ave   Cody      WY       82414   Child company      $40,500.00        5/5/23       investment in entity
                                                                                                                                      7/25/23
                                                                                                                                      10/13/23
                                                                                                                                      4/18/24




6/11/2024                                                                                                                                                                       Page 1 of 1
